       Case 4:21-cr-06004-SMJ        ECF No. 86   filed 09/08/21   PageID.224 Page 1 of 2



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 6
                         UNITED STATES DISTRICT COURT
 7                  FOR THE EASTERN DISTRICT OF WASHINGTON
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 9
     UNITED STATES OF AMERICA,

10                      Plaintiff,
11                                                    4:21-CR-06004-SMJ
           vs.
12
                                                      SUBSTITUTION OF COUNSEL
13                                                    FOR THE UNITED STATES
   ARTURO TEJEDA-GOMEZ,
14 ANDRES GUTIERREZ,

15
                        Defendant.
16

17
           Ian L. Garriques, Assistant United States Attorney for the Eastern District of
18
     Washington, hereby substitutes as counsel of record on behalf of the United States of
19
     America replacing Benjamin Seal.
20

21
     Dated this 8th day of September, 2021.
22

23

24                                           Joseph H. Harrington
                                             Acting United States Attorney
25
                                             s/ Ian L. Garriques
26                                           Ian L. Garriques
                                             Assistant United States Attorney
27

28 Government’s Notice Substitution               1
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      Case 4:21-cr-06004-SMJ      ECF No. 86   filed 09/08/21   PageID.225 Page 2 of 2




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 3         I hereby certify that on September 8, 2021, I electronically filed the foregoing
 4 with the Clerk of the Court using the CM/ECF System which will send notification of

 5 such filing to the following: Ken Therrien and Robin Emmans

 6

 7
                                            s/Ian L. Garriques
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28 Government’s Notice Substitution            2
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